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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   MILAGROS GIL,                                       CASE NO.: 8:24-cv-00059

                  Plaintiff,
   v.

   WAL-MART STORES, EAST, LP d/b/a
   WAL-MART and PSI GENERAL
   CONTRACTORS,

              Defendants.
  ____________________________________/

                               JOINT NOTICE OF SETTLEMENT

         Plaintiff, MILAGROS GIL (“Plaintiff”) and Defendants, WAL-MART STORES EAST,

  LP and PSI GENERAL CONTRACTORS (“Defendants”), collectively referred to as “the Parties”,

  notify the Court that the parties have reached a settlement. The parties request that the Court stay

  all pre-trial deadlines and remove the case from the July 2025 trial docket so that they may

  complete the settlement in this matter.


  Respectfully submitted,

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